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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


RYAN W. ZIMMERMAN,

                      Plaintiff,
               v.
                                                 Case No. 1:16-cv-00013-JMC-RMM (D.D.C.)
AL JAZEERA AMERICA, LLC, et al.,


                      Defendants.


RYAN J. HOWARD,

                      Plaintiff,
               v.                                Case No. 1:16-cv-00014-JMC-RMM (D.D.C.)

AL JAZEERA AMERICA, LLC, et al.,

                      Defendants.


                      STIPULATION OF VOLUNTARY DISMISSAL

       Plaintiffs Ryan W. Zimmerman and Ryan J. Howard (collectively, “Plaintiffs”) and

Defendants Al Jazeera America, LLC, Al Jazeera International (USA), Inc., Al Jazeera Media

Network, and Deborah Davies (collectively, “Defendants”), respectfully stipulate and request that

the Court enter an order as follows pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii):

       1.      Plaintiffs voluntarily dismiss their claims against Defendants with prejudice.

       2.      Defendants have filed an answer in this case, but have not filed any counterclaims

               against Plaintiffs. See ECF No. 46.

       3.      Each party is to bear its own fees and costs.

       4.      This case should therefore be dismissed and all pending motions denied as moot.




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Dated: September 8, 2023                 Respectfully submitted,

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